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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF FLORIDA
WEST PALM BEACH DIVISION

In re: Marilyn Bonachea Case No.:19-17212-EPK
SS#:-8470 Chapter 13
Debtor.
/

 

Debtor’s Motion to Modify Chapter 13 Plan After Confirmation

The Debtor(s), Marilyn Bonachea, by and through the undersigned attorneys, files this
Motion to Modify Chapter 13 Plan After Confirmation and states:

1. Debtor’s 1 Amended Plan was confirmed previously by this Court. Debtor failed to
remain current under the Confirmed Plan due to a temporary loss of income and/or unexpected
expenses and a Notice of Delinquency was subsequently issued.

2. Debtor seeks to modify the Chapter 13 Plan to cure both pre-petition arrearage and the
post-confirmation delinquency during the modified term.

3. Because less than 15 days have passed since the Notice of Delinquency was issued,
this Motion is timely.

4, By reason of the foregoing, the Debtor proposes that, pursuant to §1329 of the
Bankruptcy Code, the Chapter 13 Plan be modified in accordance with the proposed 1° Modified
Plan attached hereto.

WHEREFORE the Debtor respectfully requests that this Court enter an Order
confirming the Debtor’s 1* Modified Chapter 13 Plan and demands such other and further relief
as the Court may deem just and proper.

I HEREBY CERTIFY that I am admitted to the Bar of the United States District Court

for the Southern District of Florida and am in compliance with the additional qualifications to
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practice in this Court set forth in Local Rule 2090-1(A).

I HEREBY CERTIFY that a true and correct copy of the foregoing and the 1 Modified
Chapter 13 Plan have been furnished via electronic filing to Robin R. Weiner, Trustee, P.O. Box
559007, Fort Lauderdale, FL 33355-9007; A.U.S.T., 51 SW First Avenue, Room 1204, Miami,

FL 33130, and all creditors listed on attached Creditors Matrix via 1st Class U.S. Mail this

| F say of January, 2020.

 

Law Firm of Hoskins, Turco, Lloyd & Lloyd
By: Colin V. Lloyd, Esquire

Florida Bar No.:0165182

302 South Second Street

Fort Pierce, FL 34950

(772) 464-4600

(772) 465-4747 fax
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UNITED STATES BANKRUPTCY COURT, SOUTHERN DISTRICT OF FLORIDA

www.llsb.uscourts. gov
CHAPTER 13 PLAN (Individual Adjustment of Debts)

 

 

 

 

EF] Original Plan
[] Amended Plan (Indicate Ist, 2nd, etc. Amended, if applicable)
[m] Ist Modified Plan (Indicate Ist, 2nd, etc. Modified, if applicable)
DEBTOR: Marilyn Bonachea JOINT DEBTOR: CASE NO.: 19-17212-EPK
SS#: Xxx-xx- 8470 SS#: XxXx-Xx-
I. NOTICES
To Debtors: Plans that do not comply with local rules and judicial rulings may not be confirmable. All plans, amended plans

and modified plans shall be served upon all creditors and a certificate of service filed with the Clerk pursuant to
Local Rules 2002-1 (C)(5), 3015-1(B)(2), and 3015-2. Debtor(s) must commence plan payments within 30 days of
filing the chapter 13 petition or within 30 days of entry of the order converting the case to chapter 13.

To Creditors: Your rights may be affected by this plan. You must file a timely proof of claim in order to be paid. Your claim may
be reduced, modified or eliminated.

To All Parties: The plan contains no nonstandard provisions other than those set out in paragraph VIII. Debtor(s) must check one
box on each line listed below in this section to state whether the plan includes any of the following:

 

The valuation of a secured claim, set out in Section III, which may result in a
partial payment or no payment at all to the secured creditor

Avoidance of a judicial lien or nonpossessory, nonpurchase-money security interest, set

[-] Included {m] Not included

 

 

 

 

 

 

out in Section III [-] Included [mi] Not included
Nonstandard provisions, set out in Section VIII {m] Included [-] Not included
IL. PLAN PAYMENTS, LENGTH OF PLAN AND DEBTOR(S)' ATTORNEY'S FEE

A. MONTHLY PLAN PAYMENT: This Plan pays for the benefit of the creditors the amounts listed below, including trustee's
fees of 10%, beginning 30 days from the filing/conversion date. In the event the trustee does not retain the full 10%, any unused
amount will be paid to unsecured nonpriority creditors pro-rata under the plan:

 

1. $312.66 formonths 1 to 8 ;
2. $580.81 formonths 9 to 35 ;
3. $1,070.89 formonths 36 to 60 ;
B. DEBTOR(S)' ATTORNEY'S FEE: [] NONE  [] PRO BONO
Total Fees: $4175.00 Total Paid: $300.00 Balance Due: $3875.00
Payable $42.59 /month (Months 1 to 8 )
Payable $130.90 /month (Months 9 to 35 )
Allowed fees under LR 2016-I(B)(2) are itemized below:
$3,650 + $525 Mod
Applications for compensation must be filed for all fees over and above the Court's Guidelines for Compensation.

 

 

 

Ill. TREATMENT OF SECURED CLAIMS

A. SECURED CLAIMS: [7] NONE
[Retain Liens pursuant to 11 U.S.C. §1325 (a)(5)] Mortgage(s)/Lien on Real or Personal Property:

 

 

 

1. Creditor: Vista Royale Association, Inc.
Address: POB 2401, Stuart, FL Atrearage/ Payoff on Petition Date $9,612.13
34995 Arrears Payment (Cure) $32.15 /month (Months — 1 to 8 )
Last 4 Digits of Arrears Payment (Cure) $10.00 /month (Months 9 to 35.)
Account No.: unk

 

 

 

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IV.

Vi.

VIL.
VU.

TEL3b fyav

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Debtor(s): Marilyn Bonachea Case number: 19-17212-EPK
Arrears Payment (Cure) $363.40 /month (Months 36 to 60. )
Regular Payment (Maintain) $223.79 /month (Months 1 to 8 )
Regular Payment (Maintain) $367.11 /month (Months 9 to 60 )
Other:
[m] Real Property Check one below for Real Property:
[mPrincipal Residence [_]Escrow is included in the regular payments
[Other Real Property [m|The debtor(s) will pay [m]taxes [mlinsurance directly
Address of Collateral:

21 Pine Arbor Ln #205 Vero Beach, FL 32962

|_| Personal Property/Vehicle

Description of Collateral:

 

 

 

 

B. VALUATION OF COLLATERAL: [il] NONE

C. LIEN AVOIDANCE [@] NONE

D. SURRENDER OF COLLATERAL: Secured claims filed by any creditor granted stay relief in this section shall not receive a
distribution fom the Chapter 13 Trustee.

[a] NONE

E. DIRECT PAYMENTS: Secured claims filed by any creditor granted stay relief in this section shall not receive a distribution
fom the Chapter 13 Trustee.

[™] NONE
TREATMENT OF FEES AND PRIORITY CLAIMS [as defined in 11 U.S.C. $507 and I1 U.S.C. § 1322(a)(4)]

A. ADMINISTRATIVE FEES OTHER THAN DEBTORS(S)' ATTORNEY'S FEE: [fi] NONE
B. INTERNAL REVENUE SERVICE: [~] NONE

 

 

 

Total Due: $2,716.95 Total Payment $2,716.95
Payable: $0.69 ‘month (Months 1 to 8 )
Payable: $10.00 /month (Months 9 to 35 _)
Payable: $97.66 /month (Months 36 to 60 )

 

C. DOMESTIC SUPPORT OBLIGATION(S): [if] NONE

D. OTHER: [if] NONE

TREATMENT OF UNSECURED NONPRIORITY CREDITORS
A. Pay $10.00 /month (Months 9 to 35_)

Pay $145.37 ‘month (Months 36 to 60 )
Pro rata dividend will be calculated by the Trustee upon review of filed claims after bar date.
B. [] If checked, the Debtor(s) will amend/modify to pay 100% to all allowed unsecured nonpriority claims.

C. SEPARATELY CLASSIFIED: [il] NONE

*Debtor(s) certify the separate classification(s) of the claim(s) listed above will not prejudice other unsecured nonpriority
creditors pursuant to 11 U.S.C. § 1322.

EXECUTORY CONTRACTS AND UNEXPIRED LEASES: Secured claims filed by any creditor/lessor granted stay relief in this
section shall not receive a distribution from the Chapter 13 Trustee.

[™] NONE
INCOME TAX RETURNS AND REFUNDS: [ii] NONE
NON-STANDARD PLAN PROVISIONS [7] NONE

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Debtor(s): Marilyn Bonachea Case number: 19-17212-EPK.

{m™] Nonstandard provisions must be set forth below. A nonstandard provision is a provision not otherwise included in the Local

Form or deviating from it. Nonstandard provisions set out elsewhere in this plan are void.
Any non-exempt proceeds received during life of this Plan from book rights/publishing rights disclosed on ScheduleA/B #26
shall be turned over to Trustee to pay allowed, general unsecured claims in addition to above amounts up to 100% of allowed,

unsecured claims.
[1 Mortgage Modification Mediation

PROPERTY OF THE ESTATE WILL VEST IN THE DEBTOR(S) UPON PLAN CONFIRMATION.

I declare that the foregoing chapter 13 plan is true and correct under penalty of perjury.

Joint Debtor

Date

Debtor

Marilyn Bonachea fe
> v T

 

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Modification Ledger | Date: January 08, 2020

 

 

Debtors(s): Marilyn Bonachea Case No.: 19-17212-EPK
Petition Filed: Fri, May 31, 2019 Attorney Name: Colin Lloyd, Esquire
Date Confirmed: Tue, Oct 15, 2019 Atty. Fee in Plan: $3,350.00
Receipts Less Refunds: $2,501.30 Atty. Arrears Amt.: $0.00
Balance on Hand: $0.00 Atty. Paid to Date: $340.68
Creditor Name Type Claim Amt. Prin. Owed Prin. Paid

Lvnv Funding, LLC —

     

Pendrick Capital Partners II, LLC U $1,793.00 $233.09 $0.00 $0.00

Synchrony Bank |

 

Us Department of Education N $0.00 $0.00 $0.00 $0.00

   

Vista Royale Association, Inc. S $9,612.13 $9,354.90 $257.23 $50.00

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Label Matrix for local noticing
113¢-9

Case 19-17212-EPK

Southern District of Florida
West Palm Beach

Thu Jan 9 10:09:23 EST 2020

Vista Royale Association, Inc.

c/o Ross Earle Bonan & Ensor, P.A.

PO Box 2401
Stuart, FL 34995-2401

ECMC
PO Box 16408
St. Paul, MN 55116-0408

LVNV Funding, LLC
Resurgent Capital Services
PO Box 10587

Greenville, SC 29603-0587

Professional Adjustment Corp
Attn: Bankruptcy

14410 Metropolis Ave

Fort Myers, FL 33912-4341

Synchrony Bank/ JC Penneys
Attn: Bankruptcy

Po Box 956060

Orlando, FL 32896-0001

Colin V Lloyd
302 So 2 St
Ft. Pierce, FL 34950-1559

LVNV Funding LLC
PO Box 10587
Greenville, SC 29603-0587

Ashley Funding Services, LLC
Resurgent Capital Services
PO Box 10587

Greenville, SC 29603-0587

Internal Revenue Service
ATIN: Bankruptcy Department
POB 7346

Philadelphia, PA 19101-7346

Office of the US Trustee
51 S.W. 1st Ave.

Suite 1204

Miami, FL 33130-1614

Surf Consultants, Inc. As Successor In Inter
2775 Sunny Isles Blvd., Suite 100
Miami, FL 33160-4078

Vista Royale Association, Inc.
400 Woodland Dr
Vero Beach, FL 32962-3798

Marilyn Bonachea
21 Pine Avenue Ln #205
Vero Beach, FL 32962

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Synchrony Bank

PRA Receivables Management, LLC
PO Box 41021

Norfolk, VA 23541-1021

Bay Area Credit Services

Attn: Bankruptcy

4145 Shackleford Road, Suite 330b
Norcross, GA 30093-3541

(p) JEFFERSON CAPITAL SYSTEMS LLC
PO BOX 7999
SAINT CLOUD MN 56302-7999

Pendrick Capital Partners II, LLC
Peritus Portfolio Services II, LLC
PO BOX 141419

IRVING, TX 75014-1419

Synchrony Bank

c/o PRA Receivables Management, LLC
PO Box 41021

Norfolk VA 23541-1021

Wells Fargo
420 Montgomery St
San Francisco, CA 94104-1298

Robin R Weiner

ww. chl3weiner.com

POB 559007

Fort Lauderdale, FL 33355-9007

The preferred mailing address (p) above has been substituted for the following entity/entities as so specified
by said entity/entities in a Notice of Address filed pursuant to 11 U.S.C. 342(£) and Fed.R.Bank.P. 2002 (g) (4).

Jefferson Capital Systems LLC
Po Box 7999
Saint Cloud Mn 56302-9617

The following recipients may be/have been bypassed for notice due to an undeliverable (u) or duplicate (d) address.
(u)West Palm Beach

End of Label Matrix
Mailable recipients
Bypassed recipients
Total

20

23

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(d) LVNV Funding LLC
PO Box 10587
Greenville, SC 29603-0587

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(d)Vista Royale Association, Inc.
c/o Ross Earle Bonan & Ensor, P.A.
P.O. Box 2401

Stuart, FL 34995-2401
